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"._"-'_r.r-.\veD/'\"KR
August 3{], 201?
Vl`a Ferl'Ex

Clerk ot` Court

United States Bankruptcy Court

Eastern District of New York

Ali`onse M. D’Amato Federal Courthouse
290 Federal Plaza

Central Islip, NY l 1?22

Re: In re: Cl'nig S. Taddonio
U.S. Bankruptcy Court Case No. 16-';'4128-];15
Adversary Proceeding Nos. 1'?-8180-]:15 and l?-(}SlBl-las

Dear Sir:‘Madam.

l represent the P|aintif`f in the above referenced adversary proceedings For some reason we did
not receive the alias summonses that were issued on 8)'8 and 81*]01'|':' in the above referenced adversaries.
Please reissue the alias summonses 50 that we can obtain service on the Det`enclant in both cases.

Thank you in advance and please call my office if`you have any questions or require additional
information.

Respecli`ully.

fsi Hi|ton Wiener
l-Iilton Wiener. Esq.
HMWfsdb
enclosures

